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~AJ'       USA02014R00263                                                               __    -,,'l'UED   __  ...Jf£CElVED

                                IN THE UNITED STATES DISTRICT COURT                           MAY 272015
                                     FOR THE DISTRICT OF MARYLAND
                                                                                                    AT 8REENllaT
                                                                                             CLE!'<\J.lI. ~ICT    COUIlT
                                                                                               D1I'llI1CT OF IlW!YUND
       UNITED STATES OF AMERICA                        *                               SY
                                                       *
              v.                                       *     CRIMINAL     NO      PWG 15-cr-0296
                                                       *
       ROLANDO ONEAL THORPE,                           *     (Possession of a Firearm by Convicted
          a/kla "Black,"                               *     Felon, 18 U.S.c. S 922(g); Possession
          a/kla "China Man,"                           *     with Intent to Distribute Controlled
                                                       *     Substances, 21 U.S.c. S 841; Usc of a
                                                       *     Telecommunications     Facility in
                                                       *     Facilitating Narcotics Trafficking, 21
                            Defendant                  *     U.S.c. S 843(b); Possession of a Firearm
                                                       *     in furtherance of a Drug Trafficking
                                                       *     offense, 18 U.S.c. S 924(c)Aiding and
                                                       *     Abetting, 18 U.S.c. S 2; Forfeiture, 21
                                                       *     U.S.c. S 853,18 U.S.c. S 924(d), 28
                                                       *     U.S.c. S 2461(c»
                                                       *
                                                  ********
                                               INDICTMENT

                                                COUNT ONE

              The Grand Jury for the District of Maryland charges that:

              On or about November 22,2013, in the District of Maryland, the defendant,

                                        ROLANDO ONEAL THORPE,
                                               a/lila "Black,"
                                            a/kla "China Man,"

       having been convicted of a crime pnnishable by imprisonment for a teml exceeding one year, did

       knowingly and unlawfully possess in and affecting commerce a firearm, to wit, a loaded Glock

       Model 29 10mm semi-automatic handgun.




       18 V.S.c. ~ 922(g)
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                                            COUNT TWO

           The Grand Jury for the District of Maryland further charges that:

           On or about November 22,2013, in the District of Maryland, the defendant,

                                   ROLANDO ONEAL THORPE,
                                             aIkIa "Black,"
                                          alk/a "China Man,"

    did knowingly, willfully and unlawfully possess with intent to distribute a mixture and substance

    containing marijuana, a Schedule I controlled substance.




    21 u.s.c.   9 841
    18 u.s.c.   92




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                                      COUNT THREE

       The Grand Jury for the District of Maryland further charges that:

       On or about November 9, 2013, in the District of Maryland and elsewhere, the defendant,

                               ROLANDO ONEAL THORPE,
                                      aIkIa "Black,"
                                   a/Wa "China Man,"

did knowingly and intentionally use a communication facility, specifically. a cell phone with

assigned number (202) 817-8103, in facilitating the commission of an act and acts constituting a

felony under Title 21, United States Code, Section 841.



21 U.S.C. ~ 843(b)
18 U.S.C. ~ 2




                                                 3
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                                          COUNT FOUR
       The Grand Jury for the District of Maryland further charges that:

       On or about November 22,2013, in the District of Maryland, the defendant,

                                 ROLANDO ONEAL THORPE,
                                        a/k/a "Black,"
                                     a/kla "China Man,"

did knowingly possess a firearm in furtherance of a drug trafficking offense for which he may be

prosecuted in a court of the United States, to wit: possession with intent to distribute controlled

substances, in violation of Title 21, United States Code, Sections 841.




18 U.S.c.   S 924(c)(\)(B)(ii)




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                                     FORFEITURE          ALLEGATION

       The Grand Jury for the District of Maryland further finds that:

       I.        Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the

United States will seek forfeiture as part of any sentence in accordance with 18 U.S.c.          S 924(d),
21 U.S.c.    S 853 and   28 U.S.c.   S 246 I (c), as a result   of the defendant's conviction under Count

One of this Indictment.

                                            Firearms Forfeiture

       2.      As a result of the offenses set forth in Counts One and Two of this Indictment, the
defendant,

                                     ROLANDO ONEAL THORPE,
                                            a/k/a "Black,"
                                         a/k/a "China Man,"

shall forfeit to the United States the firearm identified in Count One of the Indictment and

involved in this offense.

                                            Narcotics Forfeiture

        3.       As a result of the offense set forth in Count Two of this Indictment, the defendant,

                                     ROLANDO ONEAL THORPE,

shall forfeit to the United States any property constituting, or derived from, any proceeds the

person obtained, directly or indirectly, as the result of such violation; and any of the person's

property used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of, such violation, including but not limited to the following:

                 a. $6,400 in United States currency;

                 b. 27 rounds of ammunition;

                 c. a magazine with 23 rounds of .45 caliber ammunition; and

                                                         5
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                  d. a black laser for a handgun.

                                              Substitute Assets

         4.       If, as a result of any act or omission of the defendant, any such property subject to

forfeiture:

                           a.       cannot be located upon the exercise of due diligence;

                           b.       has been transferred or sold to, or deposited with, a third person;

                           c.       has been placed beyond the jurisdiction of the Court;

                           d.       has been substantially diminished in value; or

                           e.       has been commingled with other property which cannot be

                                    subdivided without difficulty;

the United States of America shall be entitled to forfeiture of substitute property pursuant to

21 U.S.c.     S 853(p).


18 U.S.C.     S 924(d)
21 U.S.C.     S 853
28 U.S.C.     S 2461 (c)


                                                       ~d.~~
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                                                       United States Attorlie'Yll
A TRUE BILL:


SIGNATURE REDACTED                                     Dated:     May 27, 2015
For;periiln   ---=r--           v




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